
8 N.Y.2d 952 (1960)
Frederick Proctor, an Infant, by John A. Proctor, His Guardian ad Litem, et al., Appellants,
v.
Town of Colonie, Respondent.
Bernice L. Rivenberg, an Infant, by Charles Rivenberg, Her Guardian ad Litem, et al., Appellants,
v.
Town of Colonie, Respondent.
Court of Appeals of the State of New York.
Argued June 10, 1960.
Decided July 8, 1960.
E. Stewart Jones, W. Joseph Shanley and Donald L. Shanley for appellants.
Robert P. Heywood, Town Attorney (John W. Tabner of counsel), for respondent.
Concur: Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER. Chief Judge DESMOND dissents and votes to reverse and to grant a new trial as to defendant town upon the ground that a prima facie case was made out against it on this record.
In each action: Judgment affirmed, without costs; no opinion.
